       Case: 1:22-cv-01048 Document #: 34 Filed: 01/16/24 Page 1 of 2 PageID #:93



                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                Plaintiffs,        )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

                                   JOINT STATUS REPORT

        Pursuant to the court’s October 18, 2023 minute entry (Dkt. 32), the parties jointly submit

the following status report:

  I.    Status of United States v. Simonson, et al., 21 CR 50064 (N.D. Ill.)

        In November 2023, the parties to the criminal case filed joint status reports, indicating that

the United States has made several productions of discoverable documents and tangible items in

its possession pursuant to Federal Rule of Criminal Procedure 16, Local Criminal Rule 16.1, and

the protective orders entered in the case, and it continues to supplement discovery as required. 21

CR 50064, Dkt. 123, 124. The parties requested additional time to discuss additional materials

potentially needed by the defendants. Id. The court thereafter ordered that subsequent status

reports be submitted in late December 2023. 21 CR 50064, Dkt. 126, 127. Those status reports

indicated that defense counsel have additional discovery requests that they will be making to the

government and that defense counsel continue to require more time to investigate the case. 21 CR

50064, Dkt. 140, 141. In response, the government requested that the court conduct a status

conference, set a future trial date, and provide a deadline for pretrial motions. Id. The court set

the requested status conference for January 17, 2024, and ordered that defense counsel “come
       Case: 1:22-cv-01048 Document #: 34 Filed: 01/16/24 Page 2 of 2 PageID #:94



prepared with a discovery schedule by which to provide the Court with an estimate of the time

needed to prepare the case for trial.” 21 CR 50064, Dkt. 142, 143.

 II.    Modification or Lift of the Stay

        At this time, neither party in this civil litigation requests a modification or lift of the stay

imposed by the court on January 24, 2023. Dkt. 25.

III.    Status Hearing

        Finally, the parties do not require a status hearing at this time.

Respectfully submitted,

/s/ Jeremy A. Tor                                              MORRIS PASQUAL
JEREMY A. TOR (Admitted Pro Hac Vice)                          Acting United States Attorney
NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
MICHAEL P. LEWIS (Admitted Pro Hac Vice)                       By: /s Kathleen M. Przywara
SPANGENBERG SHIBLEY & LIBER LLP                                    KATHLEEN M. PRZYWARA
1001 Lakeside Avenue East, Suite 1700                              Assistant United States Attorney
Cleveland, OH 44114                                                219 South Dearborn Street
(216) 696-3232 | (216) 696-3924 (FAX)                              Chicago, Illinois 60604
jtor@spanglaw.com                                                  (312) 353-4137
ndicello@spanglaw.com                                              kathleen.przywara@usdoj.gov
mlewis@spanglaw.com

Antonio M. Romanucci
David A. Neiman
Blake J. Kolesa
ROMANUCCI & BLANDIN, LLC
321 N. Clark Street, Suite 900
Chicago, IL 60654
aromanucci@rblaw.net
dneiman@rblaw.net
bkolesa@rblaw.net
Counsel for Plaintiffs




                                                   2
